
268 So. 2d 220 (1972)
263 La. 267
STATE of Louisiana
v.
Edison Arthur SINGLETON.
No. 49153.
Supreme Court of Louisiana.
October 26, 1972.
*221 William J. Guste, Jr., Atty. Gen., Harry H. Howard, Asst. Atty. Gen., Leroy A. Hartley, Sp. Counsel, Jim Garrison, Dist. Atty., Louise Korns, Asst. Dist. Atty., for plaintiff-appellee.
Elie, Strickler &amp; Dennis, New Orleans, Richard B. Sobol, for defendant-appellant.
PER CURIAM.
Defendant, Edison Arthur Singleton, was convicted of aggravated rape and the death sentence imposed was affirmed by this Court. 253 La. 18, 215 So. 2d 838 (1968).
Citing Stewart v. Massachusetts, 408 U.S. 845, 92 S. Ct. 2845, 33 L. Ed. 2d 744 (1972) following Furman v. Georgia, 408 U.S. 238, 92 S. Ct. 2726, 33 L. Ed. 2d 346 (1972), the United States Supreme Court vacated the judgment herein insofar as it left undisturbed the death penalty imposed and remanded this case to this Court for further proceedings. 408 U.S. 932, 92 S. Ct. 2852, 33 L. Ed. 2d 745 (1972).
We construe the Mandate of the United States Supreme Court to require the imposition of a sentence other than death. Cf., State v. Shaffer, 260 La. 605, 257 So. 2d 121 (1971) and State v. Duplessis, 260 La. 644, 257 So. 2d 135 (1971).
Accordingly, in compliance with the Mandate of the United States Supreme Court, the death sentence imposed upon defendant is annulled and set aside, and the case is remanded to the 17th Judicial District Court with instructions to the trial judge to sentence the defendant to life imprisonment.
Case remanded.
